

People v Wreh (2023 NY Slip Op 50978(U))



[*1]


People v Wreh (Thomas)


2023 NY Slip Op 50978(U)


Decided on September 18, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 18, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570738/16

The People of the State of New York, Respondent,
againstThomas Wreh, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Steven J. Hornstein, J.), rendered October 4, 2015, convicting him, upon a plea of guilty, of criminal sale of marijuana in the fourth degree, and imposing sentence.




Per Curiam.
Appeal from judgment of conviction (Steven J. Hornstein, J.), rendered October 4, 2015, dismissed as academic. 
Defendant's October 4, 2015 conviction for criminal sale of marijuana in the fourth degree (see Penal Law § 221.40) has been automatically vacated and dismissed, and rendered legally invalid by operation of law (see CPL 160.50[3][k][iii],[5]). Thus, defendant's claims with respect to that conviction are academic (see e.g. People v Taite, 65 Misc 3d 137[A] [App Term, 1st Dept 2019], lv denied 34 NY3d 1082 [2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT
I concur I concur I concur
Decision Date: September 18, 2023









